      Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 1 of 12 PageID #: 5
             This is not the of icial court record. Of icial records of court proceedings may only be obtained directly from
             the court maintaining a particular record.


Hannelore Boorn v. Caesars Enterprise Services, LLC, Caesars Riverboat Casino, LLC
Case Number                                  31C01-2011-CT-000046

Court                                        Harrison Circuit Court

Type                                         CT - Civil Tort

Filed                                        11/17/2020

Status                                       11/17/2020 , Pending (active)


Parties to the Case
Defendant Caesars Enterprise Services, LLC
   Address
   Corporation Service Company
   135 North Pennsylvania St., Suite 1610
   Indianapolis, IN 46204

Defendant Caesars Riverboat Casino, LLC
   Address
   Corporation Service Company
   135 North Pennsylvania St., Suite 1610
   Indianapolis, IN 46204

Plainti       Boorn, Hannelore
   Attorney
   Kenneth Charles Pierce
   #2371010, Retained

   416 Meigs Avenue
   Je ersonville, IN 47130
   812-283-8577(W)


Chronological Case Summary
11/17/2020 Case Opened as a New Filing


11/17/2020        Appearance Filed
              Appearance

              For Party:                      Boorn, Hannelore
              File Stamp:                     11/17/2020

11/17/2020        Complaint/Equivalent Pleading Filed
              Complaint

              Filed By:                       Boorn, Hannelore
              File Stamp:                     11/17/2020
          Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 2 of 12 PageID #: 6
 11/17/2020         Subpoena/Summons Filed
                Summons

                Filed By:                       Boorn, Hannelore
                File Stamp:                     11/17/2020

 11/17/2020         Subpoena/Summons Filed
                Summons

                Filed By:                       Boorn, Hannelore
                File Stamp:                     11/17/2020

 12/01/2020         Document Filed
                Counsel's Proof of Service and return receipt

                Filed By:                       Boorn, Hannelore
                File Stamp:                     11/30/2020

 12/07/2020         Document Filed
                Counsel's Proof of Service and return receipt to Caesars Enterprise Services LLC

                Filed By:                       Boorn, Hannelore
                File Stamp:                     12/04/2020


Financial Information
* Financial Balances re ected are current representations of transactions processed by the Clerk’s O ce. Please note that any
  balance due does not re ect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
  balances shown, please contact the Clerk’s O ce.

Boorn, Hannelore
Plainti

Balance Due (as of 12/11/2020)
0.00

Charge Summary
 Description                                                                 Amount              Credit              Payment
 Court Costs and Filing Fees                                                 157.00              0.00                157.00

Transaction Summary
 Date                  Description                                           Amount
 11/17/2020            Transaction Assessment                                157.00
 11/17/2020            Electronic Payment                                    (157.00)



               This is not the of icial court record. Of icial records of court proceedings may only be obtained directly from
               the court maintaining a particular record.
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 3 of 12 PageID #: 7
                                     31C01-2011-CT-000046                                      Filed: 11/17/2020 1:08 PM
                                                                                                  Harrison County Clerk
                                          Harrison Circuit Court                               Harrison County, Indiana




              IN TgIE CIRCUIT/SUPERIOR COURT FOR HARRISON COUNTY
                                 STATE OF INDIANA


       HANNELORE BOORN

                                                                           Plaintiff
       vs.


       CAESARS ENTERPRISE SERVICES, LLC

                      Serve :        Corporation Service Company
                                     135 North Pennsylvania Street
                                     Suite 1610
                                     Indianapolis, Incliana 46204

       AND

       CAESARS RIVERBOAT CASINO, LLC

                     Serve :         Corporation Service Company
                                     135 North Pennsylvania Street
                                     Suite 1610
                                     lndianapolis, Indiana 46204

                                                                           Defendants



                                            COMPLAINT

             Comes the Plaintiff, Hannelore Boorn, by and through counsel, .and for her cause

      of action against the Defendants states as follows;

                                                    I.

             At all times material hereto, the Plaintiff was a resident of Lexington, Kentucky.

                                                   H.

             At all times material hereto, the Defeticlant, Caesars Enterprise Services, LLC tivas

      a duly licensed corporation aetive and in good standing doingbusiness as Caesars Southern
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 4 of 12 PageID #: 8




        Indiana Hotel and Casino. The agent for service of process is Corporation Service

        Company, 135 North Pennsylvania Street, Suite 1610, Indianapolis, Indiana 46204.



                At ai1 times material hereto, the Defendant, Caesars Riverboat Casino, LLC was a

        duly licensed corporation active and in good standing doing business as Caesars Southern

        Indiana Hotel and Casino. The agent for service of process is Corporation Service

        Company, 135 North Pennsylvania Street, Suite 1610, Indianapolis, Indiana 46204.

                                                     IV.

                On or about January 1, 2020 the Plaintiff was a business invitee at the premises

       owned, operated and maintained by the Defendants, by and through their agents and/or

       ernployees. On said _date; the Defendants, by and through their agents and/or employees,

       negligently failed to provide safe preniises for the Plaintiff.

                                                     V.

               As a direct and proximate result of the negligence of the Defendants, by and through

       their agents ancUor ernployees, the Plaintiff sustained permanent personal injtiries, she has

       incurred medical expense and wi11 incur such expense in the fiiture, she has lost income,

       her capacity to earn money has been permanently impaired and she has and will in the

       futzire endure pain and suffering, both physical and mental.

               WEIFREFORE, the Plaintiff demands judgment against the Defendants in an

       amonnt sufficient to establish the jurisdiction of this Court, for her costs herein expended,

       and for any and all other just and proper relief to which Plaintiff may appear entitled.

              PLAINTIFF DEViANDS TRIAL BY JURY.
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 5 of 12 PageID #: 9




                                         Respectfiilly subrnitted,



                                          /s/Kenraeth C. Pierce, II
                                         Kenneth C. Pierce, II
                                         INDIANA BAR #23710-10
                                         416 Meigs Avenue
                                         Jeffersonville, Indiana 47130
                                         (812) 283-8577

                                         Jeffrey T. Sampson
                                         INDIANA BAR #499-95-TA
                                         THE SAMPSON LAW FIRM
                                         1154 South Third Street
                                         Louisville, Kentucky 40203
                                         (502) 584-5050

                                         COUNSEL FOR PLAINTIFF
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 6 of 12 PageID #: 10
                                        31C01-2011-CT-000046                                         Filed: 11/17/2020 1:08 PM
                                                                                                        Harrison County Clerk
                                              Harrison Circuit Court                                 Harrison County, Indiana




                  IN THE CIRCUIT/SUPERIOR COURT FOR HARRISON COUNTY-
                                    STATE OF INDIANA

       HANNELORE BOORN                                                   Case No.

                Plaintiff
       vs.

       CAESARS ENTERPRISE SERVICES, LLC
       AND
       CAESARS RIVERBOAT CASINO, LLC

               Defendants

                            APPEARANCE BY ATTORNEY ]N CIVIL CASE

       Party Classification:            Initiating

       1.      The undersigned attorney and all attorneys listed on this forrn now appear in this
       case for the following party member(s): Hannelore Boorn

       2.      Applicable attomey information for service as required by Trial Rule 5(B)(2) and
       for case information as required by Trial Rules 3.1 and 77(B) is as foilows:

               Name:           Kenneth C. Pierce, II              Attorney Number:        #23710-10
               Address:        416 Meigs Aventite                 Phone:              (812)283-8577
                               Jeffersonville, IN 47130           E-mail:          teff(c~slftrial.com

       3.      There are other party znembers:           No

       4.    If first party fiiing this case, the clerlc is reqiiested to. assign this case the following
       Case Type under Achninistrative Rule 8(b)(3):             Not applicable

       5.      I will accept service by FAX at ttxe above notcd numbe.r:        No

       6.      This case involves stipport issues:       No

       7.      There are related cases:.       No

       8.      This form has been served on all parties. Certificate ofService is attached:         Yes


                                                          /s/Kenneth C. Pierce, 7I
                                                         Kenneth C. Pierce, II
.. ~• - ~'~   Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 7 of 12 PageID #: 11




                                                 CE1tTTFICATE OF SERVICE

                             Service of he foregoing was made by placing a copy of the same into the United
                      States Mail, this  may of November, 2020, addressed to:

                      Corporation Service Company
                      135 North Pennsylvania Street
                      Suite 1610
                      Indianapolis, Indiana 46204



                                                                 /s/Kenneth C. Pierce, II
                                                                Kenneth C. Pierce, II
                                                                INDIANA BAR #23710-10
                                                                416 Meigs Avenue
                                                                Jeffersonville, Indiana 47130
                                                                (812) 283-8577

                                                                Jeffrey T. Sampson
                                                                INDIANA BAR #499-95-TA
                                                                THE SAIvIPSON LAW FIRM
                                                                1154 South Third Street
                                                                Louisville, Kentucicy 40203
                                                                (502) 584-5050

                                                                COUNSEL FOR PLAINTIFF
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 8 of 12 PageID #: 12




               IN THE CIRCUIT COURT FOR HARRISON COUNTY
                            STATE OF INDIANA
                                         )
 HANNELORE BOORN                         )
                                         ) CAUSE NO. 31C01-2011-CT-000046
      PLAINTIFF,                         ) Electronically Filed
                                         )
 VS.                                     )
                                         )
 CAESARS ENTERPRISE SERVICES, LLC and    )
 CAESARS RIVERBOAT CASINO, LLC           )
                                         )
      DEFENDANTS                         )

               E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

         1.    The party on whose behalf this form is being filed is:

               Initiating _____       Responding __X__       Intervening _____ ; and

               the undersigned attorney and all attorneys listed on this form now appear in this

               case for the following parties:

               Name of party: Caesars Riverboat Casino, LLC and Caesars Enterprise Services,

               LLC

               Address of party: 11999 Casino Center Drive Elizabeth, IN 47117

               Telephone number of party: 1-866-676-7463

         2.    The attorneys response for the representation of the above identified initiating

 party is:

  Name: Douglas P. Dawson                         Attorney No. 29645-22

  Address: Walters Richardson, PLLC               Telephone No.: 502-785-9090
           920 Lily Creek Rd., Ste. 102           Fax No.: 502-742-0326
           Louisville, KY 40243                   Email: Doug@WaltersRichardson.com
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 9 of 12 PageID #: 13




          3.    Undersigned certifies that the contact information listed on the Indiana Supreme

 Court Roll of Attorneys for each attorney is current and accurate as of the date the appearance is

 filed.

          4.    Undersigned acknowledges that all orders, opinions, notices and all documents

 served under Trial Rule 86(G) will be sent to the attorney at the email address(es) on the Indiana

 Roll of Attorneys regardless of other contact information supplied by the attorney; and

          5.    Undersigned acknowledges that it is their sole responsibility for keeping their

 contact information with the Indiana Roll of Attorneys accurate per Ind. Admis. Disc. R. 2(A).

                                              Respectfully submitted,

                                              WALTERS RICHARDSON, PLLC

                                              /s/ Douglas P. Dawson

                                              Douglas P. Dawson (Bar #: 29645-22)
                                              920 Lily Creek Road, Suite 102
                                              Louisville, Kentucky 40243
                                              Telephone: (502) 785-9090
                                              Facsimile:     (502) 742-0326
                                              Email:         Doug@WaltersRichardson.com
                                              COUNSEL FOR DEFENDANTS,
                                              CAESARS ENTERPRISE SERVICES, LLC AND
                                              CAESARS RIVERBOAT CASINO, LLC




                                                 2
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 10 of 12 PageID #: 14




                                                       CERTIFICATE OF SERVICE

              This is to certify that the foregoing has been served on the following on the 11th day of

  December, 2020 via the Indiana E-Filing System:

   Kenneth C. Pierce, II                                                 Jeffrey T. Sampson
   416 Meigs Avenue                                                      The Sampson Law Firm
   Jeffersonville, IN 47130                                              1154 South Third Street
   Counsel for Plaintiff                                                 Louisville, KY 40203
                                                                         Co-Counsel for Plaintiff


                                                                   /s/ Douglas P. Dawson

                                                                   COUNSEL FOR DEFENDANTS,
                                                                   CAESARS ENTERPRISE SERVICES, LLC AND
                                                                   CAESARS RIVERBOAT CASINO, LLC

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                                                                     3
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                IN THE CIRCUIT COURT FOR HARRISON COUNTY
                             STATE OF INDIANA
                                          )
  HANNELORE BOORN                         )
                                          ) CAUSE NO. 31C01-2011-CT-000046
       PLAINTIFF,                         ) Electronically Filed
                                          )
  VS.                                     )
                                          )
  CAESARS ENTERPRISE SERVICES, LLC and    )
  CAESARS RIVERBOAT CASINO, LLC           )
                                          )
       DEFENDANTS                         )

                       NOTICE OF FILING OF NOTICE OF REMOVAL

         Please take notice that, pursuant to 28 U.S.C. § 1446(d), Defendants, Caesars Riverboat

  Casino, LLC and Caesars Enterprise Services, LLC, have on this 11th day of December 2020

  removed this action by filing a Notice of Removal in the United States District Court for the

  Southern District of Indiana, New Albany Division, together with a complete copy of all process,

  pleadings, and orders served upon these Defendants in the state court action as of the date of the

  filing of the removal. A complete, true, and correct copy of such Notice of Removal, without

  exhibits, is attached hereto as Exhibit A.

                                               Respectfully submitted,

                                               WALTERS RICHARDSON, PLLC

                                               /s/ Douglas P. Dawson

                                               Douglas P. Dawson (Bar #: 29645-22)
                                               920 Lily Creek Road, Suite 102
                                               Louisville, Kentucky 40243
                                               Telephone: (502) 785-9090
                                               Facsimile:     (502) 742-0326
                                               Email:         Doug@WaltersRichardson.com
                                               COUNSEL FOR DEFENDANTS,
                                               CAESARS ENTERPRISE SERVICES, LLC AND
                                               CAESARS RIVERBOAT CASINO, LLC
Case 4:20-cv-00248-JMS-DML Document 1-1 Filed 12/11/20 Page 12 of 12 PageID #: 16




                                                       CERTIFICATE OF SERVICE

              This is to certify that the foregoing has been served on the following on the 11th day of

  December, 2020 via the Indiana E-Filing System:

   Kenneth C. Pierce, II                                                 Jeffrey T. Sampson
   416 Meigs Avenue                                                      The Sampson Law Firm
   Jeffersonville, IN 47130                                              1154 South Third Street
   Counsel for Plaintiff                                                 Louisville, KY 40203
                                                                         Co-Counsel for Plaintiff


                                                                   /s/ Douglas P. Dawson

                                                                   COUNSEL FOR DEFENDANTS,
                                                                   CAESARS ENTERPRISE SERVICES, LLC AND
                                                                   CAESARS RIVERBOAT CASINO, LLC

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